Case: P3RDE S424 QeUP aren AMF: Hed APSHES: PAQSEBPS

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

Leila Green Little, et al.,
Plaintifts,

V.

Llano County, et al.,

Defendants.

 

 

Case No. 1:322-cv-00424-RP

NOTICE OF APPEAL

Defendants Llano County, Ron Cunningham, Jerry Don Moss, Peter Jones, Mike

Sandoval, Linda Raschke, Amber Milum, Bonnie Wallace, Rochelle Wells, Rhonda

Schneider, and Gay Baskin appeal to the United States Court of Appeals for the Fifth

Circuit from the order granting in part the plaintiffs’ motion for preliminary injunc-

tion entered on March 30, 2023 (ECE No. 133).

DwaIn K. ROGERS
Texas Bar No. 00788311
County Attorney

MATTHEW L. RIENSTRA
Texas Bar No. 16908020

First Assistant County Attorney

Llano County Attorney’s Office
Llano County Courthouse

801 Ford Street

Llano, Texas 78643

(325) 247-7733
dwain.rogers@co.|lano.tx.us
matt.rienstra@co.|lano.tx.us

Dated: March 30, 2023

NOTICE OF APPEAL

Respectfully submitted.

/sf Jonathan F. Mitchell
JONATHAN F. MITCHELL
Texas Bar No. 24075463
Mitchell Law PLLC

111 Congress Avenue, Suite 400
Austin, Texas 78701

(512) 686-3940 (phone)

(512) 686-3941 (fax)

jonathan@mitchell.law

Counsel for Defendants

Page 1 of 2
Case: PS RDE S424 QeU Parent AMF: Filed APHHES: PADS F BPS

CERTIFICATE OF SERVICE
I certify that on March 30, 2023, I served this document through CM/ECF

upon:

ELLEN V. LEONIDA
MaTTHEW BORDEN

J. NoaH HaGEy

Max BERNSTEIN

ELLis E. HERINGTON
BraunHagey & Borden LLP
351 California Street, 10th Floor
San Francisco, California 94104
(415) 599-0210
leonida@braunhagey.com
borden@braunhagey.com
hagey@braunhagey.com
bernstein@braunhagey.com
herington@braunhagey.com

RyAN A. BOTKIN
KATHERINE P. CHIARELLO
MariA AMELIA CALAF
KAYNA STAVAST LEVY
Wittliff | Cutter PLLC

1209 Nueces Street

Austin, Texas 78701

(512) 960-4730 (phone)
(512) 960-4869 (fax)
ryan@wittliffcutter.com
katherine@wittliffcutter.com
mac@wittliffcutter.com
kayna@wittliffcutter.com

Counsel for Plaintiffs
/s/ Jonathan EF. Mitchell
JONATHAN F. MITCHELL
Counsel for Defendants

NOTICE OF APPEAL Page 2 of 2
